                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TENNESSEE
                              AT KNOXVILLE



 BOYD SMITH, NANCY SMITH,             )
 JOEY SMITH, JEFFREY SMITH,
 JILL SMITH, BESSIE HACKNEY,          )
 WILLIAM GRAY, PEGGY GRAY,
 and GREGORY HOUSTON, for             )
 themselves and on behalf of all
 others similarly situated,           )

            Plaintiffs                )

                         v.           )              No. 3:04-cv-591

 FIRST CENTURY BANK, CONNIE           )
 DYER, SHERI LAWSON, KAREN
 WILLIAMS, and DELORIS GRAVES,        )

            Defendants                )

 and                                  )

 FIRST CENTURY BANK,                  )

            Counter-Plaintiff         )

                         v.           )

 BOYD SMITH, et al.,                  )

            Counter-Defendants        )



                                   ORDER




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             For the reasons set forth in the Memorandum Opinion this day passed

 to the Clerk for filing, it is hereby ORDERED that the motion to dismiss filed by

 defendant Karen Williams [Doc. 16] be, and the same hereby is, GRANTED to the

 extent that the following causes of action are DISMISSED WITH PREJUDICE:


                 1.     Violation of the Racketeer Influenced and
             Corrupt Organizations Act (Civil RICO), 18 U.S.C. §§ 1961,
             et seq., (Count I);

                2.      Violation of the Federal Consumer Credit
             Protection Act, 15 U.S.C. § 1681s-2, (Count II); and

                  3.    Violation of federal statutes and regulations for
             protection of confidentiality of consumer information (Count
             III).


 See Fed.R.Civ.P. 12(b)(6); and the following claims are DISMISSED WITHOUT

 PREJUDICE:


                1.      Violation of the Tennessee Identity Theft
             Deterrence Act of 1999, T.C.A. §§ 47-18-2101, et seq.,
             (Count IV);

              2.      Violation of the Tennessee Consumer Protection
             Act (TCPA), T.C.A. §§ 47-18-101, et seq., (Count V);

                3.     Violation of the Tennessee Financial Records
             Privacy Act, T.C.A. §§ 45-10-101, et seq., (Count VI);

                4.      Breach of fiduciary duty (Count VII);

                5.      Conversion (Count VIII);

                6.      Negligence (Count IX); and

                                          2


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                    7.    Equitable relief (Count X).


 The parties are hereby DIRECTED to amend the caption accordingly with respect

 to all future filings.


                          ENTER:

                                                      s/ James H. Jarvis
                                                UNITED STATES DISTRICT JUDGE




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